       Case: 1:20-cv-04657 Document #: 24 Filed: 10/13/20 Page 1 of 5 PageID #:147




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

    RYAN L. APRILL, an individual, and
    THOMAS S. APRILL, an individual,

                    Plaintiffs,

           vs.
                                                                     Case No. 20 CV 04657
    ANTHONY AQUILA, AQUILA FAMILY
    VENTURES, LLC, AFV FOUNDERS SELECT
                                                                     Hon. Martha M. Pacold
    CAPITAL PARTNERS LLC a/k/a AFV
    PARTNERS LLC, AFV MANAGEMENT
    ADVISORS LLC, AND AFV FSCP CO-
    INVESTMENT I LLC a/k/a AFV PARTNERS
    CO-INVESTMENT I LLC,

                    Defendants.

    DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT PURSUANT TO
    FEDERAL RULES OF CIVIL PROCEDURE 12(B)(3), 12(B)(6), 9(B) AND MOTION TO
                         STRIKE PURSUANT TO 12(F)

          Anthony Aquila, Aquila Family Ventures, LLC, AFV Partners LLC, AFV Management

Advisors LLC and AFV Partners Co-Investment I LLC (collectively, “Defendants”) hereby move

to dismiss this action with prejudice, pursuant to Federal Rules of Civil Procedure 12(b)(3),

12(b)(6), and 9(b). If any claims should survive, Defendants also move to strike irrelevant and

scandalous material pursuant to Rule 12(f). Defendants’ arguments in support of this Motion are

set forth in detail in Defendants’ Memorandum of Law in Support of Their Motion to Dismiss

Plaintiffs’ Complaint, which is filed contemporaneously with this Motion and is fully incorporated

herein.1 In support of this Motion, Defendants briefly state as follows:




1
      Pursuant to Judge Pacold’s current motion procedures, the parties will confer and submit a joint proposed
      briefing schedule on the instant motion to Judge Pacold’s proposed order email.
    Case: 1:20-cv-04657 Document #: 24 Filed: 10/13/20 Page 2 of 5 PageID #:148




       1.      Anthony Aquila is a successful entrepreneur who founded a technology-focused

investment fund, Defendant AFV Partners LLC, in 2019. Ryan and Tom Aprill (a son and father

duo) worked at AFV Partners for less than ten months and six months respectively.

       2.      Plaintiffs allege that upon their termination, Ryan and Tom received final after-tax

compensation in excess of any amount allegedly owed under the terms of any alleged written or

oral agreement. Yet Plaintiffs brought this suit, claiming they are entitled to higher salaries, annual

bonuses, and the right to receive carried interest—a portion of AFV Partners’ equity stake in the

companies in which it invests.

       3.      Plaintiffs assert 14 counts against Defendants, all based on the same alleged

conduct and seeking the same damages. Plaintiffs have five primary claims and nine claims

pleaded in the alternative. All of those claims suffer from a number of fatal flaws.

       4.      As an initial matter, all of Ryan’s claims should be dismissed pursuant to Federal

Rule of Civil Procedure 12(b)(3) because the contract Ryan claims governs his employment

includes an arbitration provision. Therefore, Ryan agreed to arbitrate all claims in Dallas, Texas.

       5.      All of Plaintiffs’ primary claims should be dismissed pursuant to 12(b)(6) for

failure to state a claim. Neither Plaintiff has alleged a breach of employment contract. Ryan’s

employment contract specifies that any bonus is both annual and discretionary. There is no

contractual promise to provide carried interest; carried interest is noted in the agreement only as a

future possibility and contingent on company discretion and vesting provisions. Tom’s allegations

of an oral agreement fall short of pleading the material terms and conditions required to be

enforceable. None of the Defendants are Illinois employers, and therefore they cannot be sued

under the Illinois Wage Payment and Collection Act; nor do they allege unpaid, earned




                                                  2
    Case: 1:20-cv-04657 Document #: 24 Filed: 10/13/20 Page 3 of 5 PageID #:149




compensation under the statute. Finally, Ryan’s claim for breach of fiduciary duty fails as a matter

of law because employers do not owe employees a fiduciary duty.

       6.      Plaintiffs’ alternative claims similarly fail. Their promissory and equitable estoppel

claims fail for numerous reasons, including that as at-will employees any reliance was not

reasonable as a matter of law. Unjust enrichment claims cannot be sustained as an independent

cause of action. Plaintiffs’ claims for fraudulent inducement should be dismissed because they

failed to plead with the requisite specificity required by Rule 9(b).

       7.      Last, if this Court permits any of Plaintiffs’ claims to proceed, irrelevant,

immaterial and scandalous content should be stricken from the Complaint pursuant to Rule 12(f).

Plaintiffs’ Complaint includes numerous irrelevant allegations that appear to be designed to

embarrass Defendants. Those improper allegations should be stricken.

       WHEREFORE, for the reasons described briefly here and detailed in the Memorandum in

Support of this Motion, filed contemporaneously herewith, Defendants respectfully request that

this Court grant their Motion and dismiss all claims against Defendants. And because Plaintiffs’

own allegations and incorporated documents establish that they cannot state a claim, dismissal

should be with prejudice.




                                                  3
   Case: 1:20-cv-04657 Document #: 24 Filed: 10/13/20 Page 4 of 5 PageID #:150




Dated: October 13, 2020                    Respectfully submitted,

                                           /s/ Brian D. Sieve
                                           Brian D. Sieve, P.C. (Illinois Bar No. 6199741)
                                           Kate Guilfoyle (Illinois Bar No. 6309150)
                                           (admitted pro hac vice)
                                           Lisa Santaniello (Illinois Bar No. 6333299)
                                           (admitted pro hac vice)
                                           brian.sieve@kirkland.com
                                           kate.guilfoyle@kirkland.com
                                           lisa.santaniello@kirland.com
                                           KIRKLAND & ELLIS LLP
                                           300 North LaSalle
                                           Chicago, IL 60654
                                           Telephone: +1 312 862 2000
                                           Facsimile: +1 312 862 2200

                                           Attorneys for Defendants




                                       4
    Case: 1:20-cv-04657 Document #: 24 Filed: 10/13/20 Page 5 of 5 PageID #:151




                              CERTIFICATE OF SERVICE

       I hereby certify that on October 13, 2020, a true and correct copy of the foregoing

document, DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT

PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 12(b)(3), 12(b)(6) AND 9(b)

AND MOTION TO STRIKE PURSUANT TO 12(f), was electronically filed and served upon

counsel of record via the Court’s CM/ECF System.



                                          /s/ Brian D. Sieve
                                          Brian D. Sieve
